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		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. EZELL

					

				
  



				
					
					
						
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. EZELL2019 OK 71Case Number: SCBD-6847Decided: 11/04/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 71, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
JULIA MARIE EZELL, Respondent.
ORDER OF IMMEDIATE INTERIM SUSPENSION
¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Information and Judgment and Sentence on a plea of guilty, in the matter of State of Oklahoma v. Julia Marie Ezell, CF-2018-3403, in Oklahoma County. On October 16, 2019, Julia Marie Ezell pled guilty to misdemeanor counts of 1) Use of a Computer to Violate Oklahoma Statutes in violation of 21 O.S.2011, § 1958, and 2) False Reports of a Crime in violation of 21 O.S.2011, § 589. On October 16, 2019, the Court entered a 5 year deferred sentence on the first misdemeanor count, with restitution of $21,810 paid in full upfront, and a 5 year deferred sentence on the second misdemeanor count, with both counts to run concurrently until October 15, 2024.
¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that Julia Marie Ezell is immediately suspended from the practice of law. Julia Marie Ezell is directed to show cause, if any, no later than November 19, 2019, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until December 5, 2019, to respond.
¶3 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, Julia Marie Ezell has until December 20, 2019, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until January 6, 2020, to respond.
¶4 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE on November 4, 2019.
/S/CHIEF JUSTICE 
Gurich, C.J., Darby, V.C.J., Kauger, Winchester, Edmondson, Colbert, Combs and Kane, JJ., concur.




	Citationizer© Summary of Documents Citing This Document
	
	
		
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
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	Title 21. Crimes and Punishments
&nbsp;CiteNameLevel

&nbsp;21 O.S. 589, False Reports of Crime - PenaltyCited
&nbsp;21 O.S. 1958, Using Access to Computers to Violate Oklahoma Statues - PenaltyCited


	
	








				
					
					
				

		
		

	
		
			
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